     Case 4:19-cv-00162-MW-MAF Document 166 Filed 09/19/22 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


ELIZABETH FREDERICK,

      Plaintiff,

v.                                       Case No. 4:19-cv-162-MW-MAF

MISTY ROBERTSON,

      Defendant.


          Certificate of Service Regarding Plaintiff’s
      Motion to Join Corizon Health and Liability Insurers

     Plaintiff’s undersigned counsel certifies that a copy of the Court’s

Order Setting Extended Deadline (the “Order”) [D.E. 159] and

Plaintiff’s Amended Motion to Include Corizon Health, Inc., Lone Star

Alliance Inc., and Scottsdale Insurance Company (the “Amended

Motion”) [D.E. 155], were transmitted to Corizon Health, Lone Star, and

Scottsdale as follows:

        • On September 15, 2022, a copy of the Amended Motion was

           sent by U.S. express priority mail with tracking to Scottsdale

           and Lone Star with an arrival date of September 16, 2022;
    Case 4:19-cv-00162-MW-MAF Document 166 Filed 09/19/22 Page 2 of 2




       • On September 16, 2022, a copy of the Order and Amended

          Motion was faxed to Scottsdale and Lone Star;

       • On September 16, 2022, a copy of the Order was sent by U.S.

          express priority mail with tracking to Scottsdale and Lone

          Star with an arrival date of September 19, 2022; and

       • On September 19, 2022, a copy of the Order and Amended

          Motion was served on Corizon Health’s registered agent in

          Florida by process server (a copy of the now-moot original

          motion was also served on Corizon Health’s registered agent

          on September 16).

Dated: September 19, 2022.

                                       Respectfully submitted,

                                       SLATER LEGAL PLLC

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